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                                                         WRcvmu.                      F1LED
                                                                 BLOOM, MJ.         IN CLERKS OFFICE
                                                                                US DISTRICT COURT E.D.NX
mm                                   CIVIL RIGHTS COMPLAINT
                                              42U.s.c.§i983
                                                                                      rrD A„ on4Q
                                                                                * FEB 05 2019 *
                                                                                                       ^


UNITED STATES DISTRICT COURT                                                     BROOKLYN OFFICE
EASTERN DISTRICT OF NEW YORK


                                                               CV19-0755
•Full name ofplaintiftfprisoner ID#

                        Plaintiff,                              JURY DEMAND
                                                                YES \S^        NO
        -against-



Enter full names of defendants
[Make sure those listed above are
identical to those listed in Part HI.]

                        Defendants.
                                                                                       FEB 05 2019

        Previous Lawsuits:
                                                                               PRO SE OFFICE
                A.      Have youbegun other lawsuits in state or federal court
                        dealing withthe same facts involved in thisaction or
                        otherwise relating to your imprisonment? Yes-{-)-No< )—

                B.      If your answer toAisyes, describe each lawsuit inthe space below
                        (Ifthere is more than one lawsuit, describe the additional lawsuits
                        on anotherpiece of paper, using the sameoutline.)

                        1. Parties to this previous lawsuit:

                                Plaintiffs:      M\r. \b(*M<\ C .>AaUiAnft^

                                Defendants: foil ^nr6 NVcAt f\fvf Kha(Y\i

                        2. Court (if federal court, name the district;
                           if state court, name the county) r          ,   \
                                          ^___                  (jpSkqlTh

                        3. Docket Number:
       Case 6:19-cv-06182-DGL Document 1 Filed 02/05/19 Page 2 of 8




                 4. Name ofthe Judge to whom case was assigned: ^\r\Aour<^ lA. \^ PC& \\
                 5. Disposition: (forexample: Was the case dismissed? Was it
                    appealed? Is it still pending?)


                 6. Approximate date offiling lawsuit: M/7 M or              //Ql Iff
                 7. Approximate date ofdisposition:

H.   PI** nfPresent Confinement: \JTK\ftP Cp^^\ OKXxX
          A. Is there aprisoner grievance procedure inthis institution? Yes( )No-(—)—
          B. Did you present the facts relating to your complaint in the prisoner
          grievance procedure? Yes( ) No( )

          C. If youranswer is YES,

                 1. What steps did you take?              .             .



                 2. What was the result?


          D. Ifyour answer is NO, explain why not \\m% lj)\GC.P V\G.S

          E. Ifthere is no prison grievance procedure in the institution, did you complain
          to prison authorities? Yes-f-)—No( )
          F. If your answer is YES,

                  1. mnt-trr^^y^^^V^ W"^ jr^ T—OmL

                  2. "w-^^ nrtvP. \\?\[ kKv^ h.aV-—
                 ^M op>                      -
          Case 6:19-cv-06182-DGL Document 1 Filed 02/05/19 Page 3 of 8




DL    Parties:
                 (In item A below, place your name inthe first blank and place your present
                 address in the second blank. Do the same for additional plaintiffs, if any.)


      A. Name ofplaintiff Mr. HOrrtAft QoKPhf.e- CbvAc\\QpoQ \
       Address IPs W\O^Ve ?&t&)r l^QhS hH frWVH
      (In item B below, place the full name and address ofeach defendant)

      B. List all defendants' names and the addresses atwhich each defendant maybe served.
      Plaintiffmust provide the address for each defendant named.

Defendant No. 1




Defendant No. 2




Defendant No. 3




Defendant No. 4                         ^xp Tlraffir-- lW\ ^ft^ 3faJrC


DefendantNo. 5                          M^ ^fa^ CUH- JO^ QCfrVl
                                        cWw CeoA-l A^w VkfpQv^

[Make sure that the defendants Usted above are identical to those Usted in the caption on page 1].
                                                   3
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IV.    Statement of Claim:

(State briefly and concisely, the facts ofyour case. Include the date(s) ofthe event(s) alleged as
weU as the location where theevents occurred. Include the names ofeach defendant and state
how each person named was involved in the event you are claiming violated your rights. You
need not give any legal arguments or cite to cases or statutes. Ifyou intend to aUege anumber of
related claims, number and set forth each claim in aseparate paragraph. You may use additional
8 54 by 11 sheets of paper as necessary.)




IV.A           Ifyou are claiming injuries as aresult ofthe events you are complaining about,
               describe your injuries and state what medical treatment you required. Was
               medical treatment received?


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         Case 6:19-cv-06182-DGL Document 1 Filed 02/05/19 Page 5 of 8




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                    Case 6:19-cv-06182-DGL Document 1 Filed 02/05/19 Page 7 of 8




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V.      Relief:

State what relief you are seeking if you prevail on your complaint.
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       I declare under penaltyof perjury that on     (||0g*JlQ                  Idelivered this
                                                            (Date)
complaint to prison authorities to be mailed to the United States District Court for the
                                                                                              NAteher^
District of New York.



       Signed this Jj   ^s22
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perjury that the foregoing is true and correct.



                                            //Signature


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